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11   United States Secretary of Labor
12
13
                     IN THE UNITED STATES DISTRICT COURT
14                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
15
16   MARTIN J. WALSH,                            Case No. 2:19-cv-03546-TJH-PLAx
17   Secretary of Labor,
     United States Department of Labor,          CONSENT JUDGMENT AS TO
18
                                                 DEFENDANT AIWA TANG-
19                                 Plaintiff,    TON ONLY [272]
20               v.
                                                 Hon. Terry J. Hatter
21   KP POULTRY, INC., et al.,                   Trial: Apr. 18 – 25, 2023
22                                 Defendants.
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     CONSENT JUDGMENT AS TO AIWA TANG-TON
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1          Plaintiff Martin J. Walsh, Secretary of Labor, United States Department of
2    Labor, and Defendant Aiwa Tang-Ton (“Defendant”) (collectively the “Parties”)
3    have agreed to resolve the matters in controversy in this civil action and agree to
4    the entry of this Consent Judgment and Injunction (“Consent Judgment”) as
5    provided below.
6       STATEMENTS BY AND AGREEMENTS BETWEEN THE PARTIES
7          A.      On December 3, 2020, the Secretary filed his First Amended
8    Complaint (Dkt. 97) in the above-captioned proceeding, naming Defendant and
9    alleging she violated provisions of sections 6, 7, 11(c), 15(a)(2), 15(a)(3), and
10   15(a)(5) of the Fair Labor Standards Act of 1938, as amended (“FLSA”), 29
11   U.S.C. §§ 206, 207, 211(c), 215(a)(2), 215(a)(3), and 215(a)(5). Defendant filed an
12   Answer to the First Amended Complaint.
13         B.      Defendant admits that the Court has jurisdiction over the Parties and
14   the subject matter of this civil action and that venue lies in the Central District of
15   California.
16         C.      The Parties agree to waive findings of fact and conclusions of law and
17   agree to the entry of this Consent Judgment without further contest.
18         D.      Defendant agrees herein to resolve all allegations of the Secretary’s
19   First Amended Complaint.
20         E.      Defendant admits that she has violated Section 7 of the FLSA, 29
21   U.S.C. § 207, by failing to pay overtime to employees identified on Exhibit 1 who
22   worked more than 40 hours in a work week.
23         F.      Defendant admits that she violated Sections 11(c) and 15(a)(5) of the
24   FLSA, 29 U.S.C. § 211 and 215(a)(5), by failing to keep accurate records of hours
25   worked by employees identified on Exhibit 1.
26         G.      Defendant represents that she and all individuals and entities acting on
27   her behalf or at her direction have notice of, and understand, the provisions of this
28   Consent Judgment.

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1                   JUDGMENT AND PERMANENT INJUNCTION
2          Pursuant to the statements and agreements above, upon joint motion of the
3    attorneys for the Parties, and for cause shown,
4          IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that,
5    pursuant to Section 17 of the FLSA, 29 U.S.C. § 217, Defendant, her agents,
6    servants, employees, companies, and all persons and entities acting at her direction
7    or in concert or participation with her direction, are permanently enjoined and
8    restrained from violating the FLSA, including through any of the following
9    manners:
10         1. Contrary to Sections 6 and 15(a)(2) of the FLSA, paying any of her
11   employees who in any workweek are engaged in commerce or in the production of
12   goods for commerce or who are employed in an enterprise engaged in commerce
13   within the meaning of the FLSA, wages at a rate less than the operative minimum
14   wage, which cannot be less than $7.25 per hour (or at a rate less than such other
15   applicable minimum rate as may hereafter be established by amendment to the
16   FLSA).
17         2. Contrary to Sections 7 and 15(a)(2) of the FLSA, paying any of her
18   employees who in any workweek are engaged in commerce or in the production of
19   goods for commerce or who are employed in an enterprise engaged in commerce
20   within the meaning of the FLSA, less than one and half times the particular
21   employee’s regular hourly rate for hours in excess of 40 hours in a workweek.
22         3. Contrary to Sections 11(c) and 15(a)(5) of the FLSA, failing to make,
23   keep, and preserve records of their employees and of the wages, hours and other
24   conditions and practices of employment maintained by them, as prescribed by the
25   regulations issued, and from time to time amended, pursuant to Section 11(c) of the
26   FLSA and found in 29 C.F.R. Part 516, including for each employee, the hours
27   worked each day and each workweek, the employee’s regular hourly rate of pay,
28   total daily or weekly straight time earnings, overtime rate of pay, total premium

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1    pay for overtime hours and identification of each deduction made from the
2    employee’s earnings along with a description of the basis/reason and method of
3    calculation of the deduction;
4          4. Contrary to Section 15(a)(3) of the FLSA, discharging; threatening to
5    discharge, lay off, reduce the work schedule or wages, intimidate; failing to hire;
6    providing negative reference; in any other manner discriminating against any
7    employee as a result of this litigation or because such employee has filed any
8    complaint under or related to the FLSA or has spoken or provided information to
9    the Secretary’s representatives in connection with this litigation or participated in
10   or received a distribution from the proceeds of this action; or taking any other
11   action to deter employees from asserting their rights under the FLSA or to interfere
12   with any U.S. Department of Labor investigation of wage or other violations.
13         5. Requesting, soliciting, suggesting, or coercing, directly, or indirectly, any
14   employee to return or to offer to return to Defendant or to someone else for
15   Defendant, any money in the form of cash, check, or any other form, for wages
16   previously due or to become due in the future to said employee under the
17   provisions of this judgment, or the FLSA; or accepting or receiving from any
18   employee, either directly or indirectly, any money in the form of cash, check, or
19   any other form, for wages heretofore or hereafter paid to the employee under the
20   provisions of this Consent Judgment or the FLSA.
21         6. Withholding payment of $150,000.00, which constitutes the back wages
22   found to be due by the Defendant under the FLSA to the employees, who are
23   identified by name in Exhibit 1, which is incorporated in and made part of this
24   Consent Judgment. Within one (1) year of entry of this Consent Judgment, the
25   Secretary shall file a supplemental Exhibit 1 listing the amount of back wages and
26   liquidated damages and interest paid or to be paid to those individuals.
27                              JUDGMENT AND ORDER
28         7. FURTHER, JUDGMENT IS HEREBY ENTERED, pursuant to

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1    Section 16(c) of the FLSA, in favor of the Secretary as a judgment owed to the
2    United States of America and against Defendant in the total amount of
3    $331,518.33. This total amount comprises $150,000.00 in unpaid overtime
4    compensation owed by Defendant and, pursuant to authority expressly provided in
5    Section 16 of the FLSA, 29 U.S.C. § 216, and an additional equal amount as
6    liquidated damages of $150,000.00, as well as civil money penalties of $ 20,000.00
7    pursuant 29 U.S.C. § 216(e) which have been assessed and finally determined for
8    Defendant’s FLSA willful violations for the time periods stated in the
9    supplemental Exhibit 1, plus interest.
10         Pursuant to this Judgment, IT IS HEREBY ORDERED THAT:
11         8. Defendant shall pay $150,000.00 in overtime pay hereby due under the
12   FLSA and this Judgment to individuals on Exhibit 1, which is incorporated in and
13   made part of this Consent Judgment. Additionally, Defendant owes and shall pay
14   liquidated damages in the amount of $150,000.00, which are hereby due under the
15   FLSA and this Judgment to individuals on Exhibit 1. Additionally, Defendant owes
16   and shall pay civil money penalties in the amount of $20,000.00 to the Department
17   of Labor, as assessed against Defendant and finally determined, pursuant to FLSA
18   Section 16(e), 29 U.S.C. § 216(e). Defendant shall also owe and pay interest.
19         9. The first payment in the amount of at least $ 60,000 is due by April 1,
20   2023; if the Consent Judgment is entered after April 1, 2023, the first payment
21   amount shall be paid within 3 days of the entry of Consent Judgment by the Court.
22   The balance of the judgment amount ($271,518.33) shall be delivered on or before
23   the date each payment is due on the first of each month as set forth in Exhibit 2,
24   which is incorporated in and made part of this Consent Judgment. Defendant may
25   make the back wage and liquidated damages and civil money penalty payments
26   required by this Consent Judgment (plus interest as applicable) online by ACH
27   transfer, credit card, debit card, or digital wallet by going to
28   https://www.pay.gov/public/form/start/77761888, or by going to www.pay.gov and

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1    searching “WHD Back Wage Payment - WE Region”. Payments shall reference
2    BW Case Number #1830788. Alternatively, Defendant may deliver payments
3    using cashier’s check made out to “U.S. Dept. of Labor/Wage & Hour Division”
4    and listing BW Case Number #1830788 on the face of the check, to: United States
5    Department of Labor/Wage & Hour Division, Attn: Back Wage Unit, District
6    Director Daniel Pasquil, 100 N. Barranca Street, Suite #850, West Covina,
7    California 91791.
8          10. In the event of any default in the timely making of any payment due
9    hereunder, the full amount due under the back wage and liquidated damages
10   provisions of this Judgment which then remains unpaid, plus post-judgment
11   interest at the rate of 10% per year, from the date of this Judgment until paid in
12   full, shall become due and payable upon the Secretary’s sending by ordinary mail a
13   written demand to the last business addresses of Defendant then known to the
14   Secretary with electronic copies also concurrently e-served on Defendant, or, if
15   applicable, her counsel.
16         11. Defendant shall execute two deeds of trust within 14 days of the entry of
17   this Judgment to secure the payments described in Paragraph 9, including Exhibit
18   2. The deeds of trust shall be recorded against the real properties commonly known
19   as 8171 CELITO DRIVE, ROSEMEAD, CA (Celito Drive), and 507 Coralridge
20   Pl, La Puente, CA 91746 (Coralridge Place), and are attached hereto as Exhibits 4
21   (Celito Drive) and 5 (Coralridge Place). Defendant has provided proof of
22   encumbrances on:
23                 Celito Drive by FIRST AMERICAN TITLE INSURANCE
24                   COMPANY, of approximately $250,000.00, and by ROYAL
25                   BUSINESS BANK, of approximately $605,000.00, as of February
26                   17, 2023, and
27                 Coralridge Place by ROYAL BUSINESS BANK of approximately
28                   $1,690,000 as of February 17, 2023,

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1    and has represented that these are the only encumbrances on the properties on
2    Celito Drive and Coralridge Place and that there remains sufficient equity to satisfy
3    the outstanding portion of the Judgment of $331,518.33 plus any additional interest
4    owed against Defendant. The Secretary shall record the deeds of trust attached as
5    Exhibit 4 and Exhibit 5 once the Court signs and enters this Consent Judgment.
6    Defendant agrees not to further encumber the properties before the deed of trusts
7    are recorded. If Defendant defaults on her payment obligations, the Secretary shall
8    give her 30 days written notice to cure the default (served electronically to
9    Defendant). If Defendant fails to cure her default, she will cooperate with and
10   provide assistance to the Secretary in executing on the deed(s) of trust. Within 45
11   days of Defendant notifying the Secretary that the Consent Judgment has been
12   satisfied in full, including any interest or penalties for paying the amount due late,
13   the Secretary will provide Defendant with deed(s) of reconveyance (and/or any
14   other instrument legally required) and provide any necessary cooperation to
15   effectuate the cancellation and removal of the deed(s) or other encumbrance(s)
16   associated with this Consent Judgment. Defendant will then file the deed(s) of
17   reconveyance (and/or any other instrument legally required) provided by the
18   Secretary to terminate the Secretary’s deed(s) of trust.
19         12. The Secretary shall distribute the proceeds from the settlement payments
20   described in paragraph 7 in the amounts set forth in the supplemental Exhibit l, less
21   deductions for employees’ share of payroll taxes and income tax withholding on
22   the back wage amounts, to the employees identified therein, or if necessary, to the
23   employees’ estates. Any monies not distributed to employees within three (3)
24   years from the date of the Secretary’s receipt of the settlement payment, because of
25   an inability to locate the proper persons or because of their refusal to accept it, the
26   Secretary shall deposit the payment into the Treasury of the United States as
27   miscellaneous receipts under 29 U.S.C. § 216(c).
28         13. In agreeing to the monetary terms of this Consent Judgment, the

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1    Secretary has relied on the financial documents and information Defendant has
2    provided to the Secretary, including financial declarations, tax returns, and bank
3    statements. All of the documents and information that Defendant has provided to
4    the Secretary concerning Defendant’s finances (including, without limitation, those
5    provided through Defendant’s counsel) are collectively referred to herein as
6    “Defendant’s Financial Representations.” Defendant acknowledges that the
7    Secretary has relied on the accuracy and authenticity of Defendant’s Financial
8    Representations in agreeing to the monetary provisions of this Consent Judgment.
9    The Secretary provided Defendant with documentation showing the total amount
10   of back wages and liquidated damages calculated by the Secretary as due in this
11   litigation for the period of October 1, 2015 through July 31, 2020, which is
12   $1,242,475.96 (this total amount is referred to herein as the “Calculated Amount”).
13   The Secretary and Defendant agree that if at any future time there is a judicial
14   determination that Defendant’s Financial Representations are materially inaccurate
15   or false, and that Defendant knew or should have known before executing this
16   Consent Judgment that the Defendant’s Financial Representations were inaccurate
17   or false, the monetary damages due shall be amended by operation of this Consent
18   Judgment from $320,000.00 plus interest to the full Calculated Amount plus
19   interest, and the full Calculated Amount (minus any amount already paid) plus
20   civil money penalties of $20,000.00, which shall become immediately due to the
21   Secretary. Defendant agrees that upon the Secretary’s reasonable belief that her
22   Financial Representations were materially false or inaccurate, the Secretary has the
23   right to seek a determination from this Court as to the inaccuracy or falsity of her
24   Financial Representations, her knowledge and constructive knowledge thereof, and
25   the materiality or the inaccuracy or falsity of those representations. Defendant
26   further agrees that the United States District Court for the Central District of
27   California has jurisdiction, and that venue is proper in that judicial district for any
28   litigation concerning the provisions of this Paragraph of the Consent Judgment.

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1    Defendant further waives any statute of limitations defense that may otherwise bar
2    the Secretary’s ability to obtain relief under this Paragraph of the Consent
3    Judgment. For the purposes of this Paragraph of the Consent Judgment, Defendant
4    waives any challenge to the merits of the Calculated Amount and agrees that the
5    inquiry before the Court under this Paragraph of the Consent Judgment shall be
6    limited to whether Defendant’s Financial Representations were inaccurate or false,
7    Defendant’s knowledge and constructive knowledge thereof, and the materiality of
8    the inaccuracy or falsity of the representations. Defendant agrees that the
9    provisions of this Paragraph of the Consent Judgment do not limit the ability of the
10   United States, including any of its agencies or departments, to seek any other
11   relief, or to seek relief in another court or venue, concerning any inaccuracy or
12   falsity in Defendant’s Financial Representations.
13         14. Defendant, her agents, servants, and employees, and any person in active
14   concert or participation with her, shall not in any way directly or indirectly,
15   demand, require or accept any of the back wages or liquidated damages from the
16   individuals listed on the operative Exhibit 1. Defendant shall not threaten or imply
17   that adverse action will be taken against any employee because of their receipt of
18   funds to be paid under this Judgment. Violation of this Paragraph may subject
19   Defendant to equitable and legal damages, including punitive damages and civil
20   contempt.
21         15. Defendant, her agents, servants, and employees, and any person in active
22   concert or participation with her, shall not in any way retaliate or take any adverse
23   employment action, or threaten or imply that adverse action will be taken against
24   any employee who exercises or asserts their rights under the FLSA or provides
25   information to any public agency investigating compliance with the FLSA.
26   Violation of this Paragraph may subject Defendant to equitable and legal damages,
27   including punitive damages and civil contempt.
28         16. Defendant shall comply with the FLSA and maintain payroll practices at

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1    any business she owns, operates, or controls, currently and in the future, as
2    follows:
3          a.     Defendant shall accurately record the information required by 29
4                 C.F.R. § 516.2 in the payroll records, including, for each employee (1)
5                 all hours worked by each workday and workweek, including all pre-
6                 and post-shift work such as maintaining clothing, tools, and supplies,
7                 and donning and doffing; (2) the rate(s) of pay for each of the hours
8                 worked during a workweek; (3) the number of pieces completed by
9                 each workday and workweek, if employee is paid per piece; (4) the
10                total weekly straight-time earnings due for the hours worked during
11                the workweek; (5) the total premium pay for overtime hours; and (6)
12                the dollar value of all equipment, tools, clothing, and supplies paid for
13                and used in or specifically required for the employee’s work.
14         b.     Defendant shall record all wages paid to employees, regardless of the
15                manner of payment, on payroll records.
16         c.     Within 14 days after resuming or commencing operations, Defendant
17                shall inform all supervisors and managers of requirements of this
18                Consent Judgment and shall provide a copy of this Consent Judgment
19                (excluding Exhibits 1 and 2) to all supervisors and managers.
20         d.     Defendant shall not alter or manipulate time or payroll records to
21                reduce the number of hours actually worked by an employee, and
22                Defendant shall not encourage workers to under-report their hours
23                worked.
24         e.     Defendant shall not direct supervisors, employees, or payroll
25                preparers to falsify time or payroll records in any manner including
26                reducing the number of hours worked by employees, and Defendant
27                shall direct supervisors and payroll providers to encourage workers to
28                report all hours worked.

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1          17.    If Defendant chooses to calculate pay through any type of individual
2    production-based system, such as a piece rate system, Defendant shall provide the
3    following written notice to piece rate employees upon hire and shall place the
4    notice prominently around the workplace. The notice shall be translated into
5    Spanish and Vietnamese and any other language necessary for employees to be
6    able to read the notice, and it shall read as follows:
7          “Employees who are paid on a piece rate still get overtime payments. You
8    are entitled to advance notice of any piece rate payment, including exactly how the
9    piece rate is calculated. You are entitled to advance notice if your employer makes
10   any change to the piece rate payment. You are entitled to an individual piece rate
11   and cannot be required to accept a group piece rate. Your regular piece rate
12   payment does NOT include overtime, but it does include straight time pay for all
13   hours worked. If you work more than 40 hours in a work week, your employer
14   must pay you a premium for overtime, above and beyond your piece rate. For
15   example, if you worked 50 hours in a workweek and earned $500 from your piece
16   rate work, your employer must pay you $50 in overtime. This amount is calculated
17   by taking your $500 pay and dividing it by the 50 hours you worked to get $10 per
18   hour. $10 per hour is your regular rate. The overtime premium means you must get
19   paid 1.5 times of your regular rate. For the extra 10 hours you worked that week,
20   you should have gotten paid $10 x 1.5 = $15 per hour. Since your employer paid
21   you $10/hour, your employer owes you $5 overtime premium for the 10 hours you
22   worked past 40 hours, meaning your employer owes you 10 x $5 or $50. Your
23   employer must give you a pay stub that shows your weekly earnings, how those
24   earnings were calculated, and shows all deductions. Your employer must pay you
25   for any time that you spend putting on or removing tools and clothes you are
26   required to wear for work, such as knives to cut chicken or gloves, robes, and
27   hairnets for your safety and food hygiene.”
28

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1          18.    Within 14 days after resuming or beginning operations, Defendant
2    shall hire an independent third party, who is not involved in this litigation and is
3    approved by representatives of the Secretary, to conduct training as to the
4    requirements of the FLSA. The training shall be for one session of not less than
5    one hour with an opportunity for questions and answers and shall address the
6    FLSA’s minimum wage, overtime, record keeping, disclosures and anti-retaliation
7    requirements. Defendant and any other managers, supervisors, and or other
8    individuals who determine the employees’ pay or schedules or who prepare payroll
9    shall attend this training. Defendant shall provide counsel for the Secretary seven
10   days’ notice in advance of the training and permit the Secretary’s representative to
11   attend the training.
12         19.    Within 14 days after resuming or commencing operations, Defendant
13   shall supply all her employees with copies of the attached Exhibit 3, which
14   summarizes the terms of this Consent Judgment and the employees’ rights under
15   the FLSA, in English, Spanish, and Vietnamese. In addition, upon resuming or
16   beginning operations, Defendant shall provide copies of Exhibit 3 to all new hires
17   and post a copy at their location(s) in an area that is frequented by employees and
18   where it is visible. This provision shall be in effect for a period of three years from
19   the date entry of this Judgment by the Court.
20   FURTHER, IT IS HEREBY ORDERED THAT
21         20. The filing, pursuit, and/or resolution of this proceeding with the entry of
22   this Judgment shall not act as or be asserted as a bar to any action or claim under
23   FLSA § 16(b), 29 U.S.C. § 216(b), as to any employee not named on the attached
24   Exhibit 1, nor as to any employee named on the attached Exhibit 1 for any period
25   not specified therein, nor as to any employer other than Defendant.
26         21. Each Party shall bear its own fees and other expenses incurred by such
27   Party in connection with any stage of this proceeding, including but not limited to
28   attorneys’ fees, which may be available under the Equal Access to Justice Act, as

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1    amended.
2    22.      The Court shall retain jurisdiction of this action for purposes of enforcing
3    compliance with the terms of this Consent Judgment.
4             IT IS SO ORDERED.
5
6    Dated: MARCH 10, 2023                 _________________________
7
                                           HON. TERRY J. HATTER, JR.
8
                                           UNITED STATES DISTRICT JUDGE
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1                                     EXHIBIT 1
2    Last Name, First Name
3    Acevedo, Ernestina
4    Aguilar Rico, Jorge
5    Aguilar Rico, Jose
6    Aguilar Rico, Sergio
7    Alferez, Nancy
8    Andrade, Adela
9    Andrade, Ivan
10   Andrade, Jaime
11   Aranda, Alberto
12   Bañuelos, Emi Isarel
13   Bañuelos, Sergio
14   Cabanas, Karen
15   Calderon, Oscar
16   Carrillo, Erminia
17   Carrillo, Moises
18   Castenada, Alberto
19   Castro Puebla, Cesar
20   Castro Ramos, Estela
21   Ceron, Yobani
22   Cervantes, Araceli
23   Chang, Pau
24   Correa, Fidencio
25   Cruz, Mario
26   Cruz, Pablo
27   Cruz Santos, David
28   Equihua, Fabian

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1    Fernandez, Juan
2    Fernando, Alvaro
3    Flores, Marco
4    Garcia, Francisco
5    Garcia, Jesus Santamaria
6    Garza, Daniela
7    Gaxiola, Jorge
8    Godinez, Jose D
9    Gomez, Maria Fabiola
10   Gomez, Ricardo
11   Gonzalez, Sebastian
12   Granados, Noe
13   Guillen, Juan
14   Hernandez, Candelaria
15   Hernandez, Rogelio Perez
16   Indalecio, Jorge
17   Linares, Alejandra
18   Lopez, Jaime
19   Lopez, Luis
20   Lopez, Reynaldo
21   Lopez, Senen
22   Luna Mares, Reynaldo
23   Macias, Cecilia
24   Magaña, Francisco M
25   Magaña, Gustavo
26   Magaña, Pedro
27   Maroquin, Angelina
28   Martinez, Antonio

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1    Martinez, Brandon
2    Martinez, Daniela
3    Martinez, Janet
4    Martinez, Jorge
5    Martinez, Maria
6    Martinez, Rafael
7    Martinez, Refujio
8    Martinez, Roberto
9    Mendez, Daniel
10   Mendez, Oscar
11   Mendoza, Maria
12   Mesa, Ana Luisa
13   Mesa, Susana
14   Munguia, Hermelinda
15   Nuno, Jose
16   Ochoa, Alejandro
17   Ochoa, Carina
18   Palomar, Ana
19   Palomar, Gerardo
20   Palomar, Jose
21   Palomar, Juan
22   Palomar, Rodolfo
23   Perez, Juana
24   Perez, Laura Lucia
25   Perez, Rafael
26   Perez, Rogelio
27   Pinzon, Laura
28   Ramirez, Andres

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1    Ramos, Brenda
2    Ramos, Julio
3    Rios, Ventura
4    Rojas, Laura
5    Rojo, Diana
6    Rojo, Emmanuel
7    Rojo, Maria
8    Rojo, Yovanna
9    Rubio, Andres Bejarano
10   Rueda, Jose Luis
11   Ruiz, Hilario
12   Ruiz, Mario
13   Salazar, Alejandra
14   Saldivar, Teresa M
15   Salvador, Pedro
16   Sanchez, Norberto
17   Sanchez, Ramiro
18   Sanchez Alonso, Nabor
19   Sandoval, Rafael
20   Solarzane, Daniel
21   Tapia, Alexis
22   Tinoco, Efrain
23   Tinoco, Hector
24   Vargas, Jael
25   Veliz Castellanos, Byron
26   Venegas, Jesus
27   Villalobos, Enrique
28   Villalobos, Maria

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1    Villarreal, Jesus
2    Villarreal, Rafael
3    Villarreal, Rene
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1                                        EXHIBIT 3
2                          EMPLOYEE RIGHTS STATEMENT
3          The U.S. Department of Labor has resolved a lawsuit against your employer
4    Aiwa Tang-Ton. The lawsuit was filed because the Labor Department alleged that
5    your employers did not pay the half time overtime premium to cutters and packers
6    when they worked more than 40 hours per week.
7          Your Employer must pay you for all hours worked, which includes all time
8    that you are required to be on the Employer’s premises and are not free from
9    duties.
10         You have the right to have all hours worked for your employer in one pay
11   period to be counted on one time record.
12         Your piece-rate earnings must at least be equal to the hourly state minimum
13   wage for all hours worked. You have the right to be paid for overtime, which
14   means that you have the right to be paid an additional one-half time premium on
15   your regular hourly rate for all hours you work more than 40 hours in one
16   workweek.
17         You have the right to inspect your time records.
18         You have the right to speak with the U.S. Department of Labor if you think
19   your Employer has not paid you for all hours worked, paid overtime, or has tried to
20   deter you from asserting your rights to the wages required by law.
21         The U.S. Department of Labor has the right to inspect your Employer’s
22   worksite at any time, and you have the right to talk to any representative of the U.
23   S. Department of Labor privately and not in the presence of your employer. Your
24   employer may not encourage or order you to leave your work areas or residences
25   to prevent or discourage you from speaking with the U.S. Department of Labor.
26         You can call the U.S. Department of Labor to make a confidential complaint
27   at (626) 966-0478 or 1-866-4-USWAGE.
28

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1          YOUR EMPLOYER IS SUBJECT TO PENALTIES IF YOUR
2    EMPLOYER VIOLATES THE LAW. PLEASE NOTIFY THE US
3    DEPARTMENT OF LABOR IF YOU THINK YOUR EMPLOYER HAS NOT
4    FULFILLED THE REQUIREMENTS OF THIS NOTICE.
5          Employees who are paid on a piece rate still get overtime payments. You are
6    entitled to advance notice of any piece rate payment, including exactly how the
7    piece rate is calculated. You are entitled to advance notice if your employer makes
8    any change to the piece rate payment. You are entitled to an individual piece rate
9    and cannot be required to accept a group piece rate. If you work more than 40
10   hours in a seven day work week, you are entitled to a half time overtime premium.
11   Your regular piece rate payment does NOT include overtime, but it does include
12   straight time pay for all hours worked. If you work more than 40 hours in a work
13   week, your employer must pay you an EXTRA half time premium for overtime,
14   above and beyond your piece rate. For example, if you work 50 hours in a work
15   week and you earned $1000 from your piece rate work, your employer must pay
16   you $100 in overtime. This amount is determined by taking your $1000 pay and
17   dividing it by the 50 hours you worked to get $20 per hour. $20 per hour is your
18   regular rate. Your employer then must pay you the extra $10 halftime overtime
19   premium for the 10 hours you worked over 40 hours in the work week, for a total
20   of $100 of extra pay. Your employer must give you a pay stub that shows your
21   weekly earnings, how those earnings were calculated, and shows all deductions.
22   Your employer must pay you for any time that you spend putting on or removing
23   tools and clothes you are required to wear for work, such as knives to cut chicken
24   or gloves and hairnets for your safety and food hygiene.
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1                                        EXHIBIT 4
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1                                     EXHIBIT 5
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